 Case
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 4   Counsel for Defendant, William G. Seaman-Rupp
 5
                             UNITED STATES DISTRICT COURT
 6                                DISTRICT OF NEVADA
 7                                                -oOo-
 8   UNITED STATES OF AMERICA, )
                               )
 9              Plaintiff,     )                           2:15-cr-00265-RCJ-GWF-02
                               )
10        v.                   )
                               )
11   WILLIAM G. SEAMAN-RUPP,   )                                 ORDER
                               )
12              Defendant.     )
                               )
13
14                MOTION FOR EXTENSION OF TIME TO SELF SURRENDER
15          COMES NOW the Defendant, WILLIAM G. SEAMAN- RUPP, by and through his counsel,
16   TERRENCE M. JACKSON, ESQUIRE, and respectfully moves this Honorable Court for an
17   extension of time for self-surrender from June 11, 2018, until September 11, 2018.
18          As grounds for this Motion, Defendant states that:
19   1.)    He is not a risk to flee. Defendant believes pretrial will verify he has made all court
20          appearances and has fully co-operated with pretrial services while on release;
21   2.)    Defendant respectfully requests additional time to surrender in this case because of the grave
22          emergency caused by his wife’s serious psychiatric illness. Because of her illness,
23          Defendant’s wife has been hospitalized for multiple suicide attempts, including the most
24          recent, January 2018, and now has a thirty (30) day out-patient treatment which began
25          February 21, 2018 [see Exhibits A through D];
26   3.)    Defendant has three small children under four years of age;
27   4.)    Defendant’s wife and children greatly need his assistance at this difficult time;
28   5.)    Defendant is desperately seeking adequate placement for his children and treatment for his
            wife, and the additional time before surrender will greatly benefit these efforts;
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 1   6.)    Defendant has heart surgery tentatively scheduled with a cardiologist as the Doctor may have
 2          to go in and fix his chest wall as it has not fused properly. The estimated recovery time is at
 3          least ninety (90) days. This makes an additional extension of 90 days of great importance to
 4          Defendant’s physical health. [See Exhibit E]
 5
 6          For all of these reasons, Defendant respectfully requests an additional ninety (90) days to self
 7   surrender at the designated institution (FCI).
 8
 9          Respectfully submitted this 24th day of April, 2018.
10                                                                     //s// Terrence M. Jackson
                                                                    Terrence M. Jackson, Esquire
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14
                                                                   Counsel for Defendant, William Rupp
15
16
17
                                              ORDER
18
     IT IS HEREBY ORDERED that Defendant’s Motion for Extension of Time to Self Surrender
19   (ECF No. 131) is GRANTED.
     IT IS FURTHER ORDERED that Defendant, William G. Seaman-Rupp shall surrender at the
20
     designated institution (FCI) on September 11, 2018. No further extensions for self surrender
21   will be granted.
22
23   Signed this 3rd day of May, 2018.
     _________________________________________
24   ROBERT C. JONES
25
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